Case 2:23-cr-00197-JS-AYS Document 52 Filed 10/26/23 Page 1 of 3 PageID #: 371

                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
RCH:AXB/LAZ                                      610 Federal Plaza
F. #2022R01030                                   Central Islip, New York 11722


                                                 October 26, 2023

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
610 Federal Plaza
Central Islip, New York 11722

             Re:      United States v. George Anthony Devolder Santos
                      Criminal Docket No. 23-197 (S-1) (JS)

Dear Judge Seybert:

              The parties respectfully submit this proposed joint agenda for the status
conference in the above-captioned matter scheduled for October 27, 2023 at 10:30 a.m.

    Arraignment on Superseding Indictment: A grand jury sitting in the Eastern District of
     New York returned a superseding indictment in this case on October 10, 2023 (the
     “Superseding Indictment”). The parties request that the Court arraign the defendant on
     the Superseding Indictment at the status conference.

    Modification of Bond Conditions: At the defendant’s initial arraignment in this matter
     on May 10, 2023, Magistrate Judge Anne Y. Shields entered an order setting conditions
     of release and appearance bond for the defendant. See Dkt. No. 12. Among other
     conditions, Magistrate Judge Shields ordered that the defendant must not have any
     contact with individuals whose identities were provided by the government to the
     defendant. Following the return of the Superseding Indictment, the government
     provided the defendant with the identities of additional persons that the defendant
     would be prohibited from contacting pursuant to the above-identified order. Because
     some of these individuals are family members of the defendant, defense counsel has
     requested that the defendant be permitted to contact certain of these individuals.
     Defense counsel agrees that the defendant will continue to be prohibited from
     communicating with these individuals about this case, the pending charges against him,
     the facts underlying the pending charges and any future court proceedings, trial or
     testimony in this matter. These restrictions do not apply to defense counsel. The
     government has no objection to this modification. Accordingly, the parties request that
     the Court modify the bond and advise the defendant at the status conference that he is
Case 2:23-cr-00197-JS-AYS Document 52 Filed 10/26/23 Page 2 of 3 PageID #: 372




      permitted to communicate with family members identified by the government,
      provided he does not communicate with them about any of the above-described topics.

    Production of Rule 16 Material: The government continues to produce discoverable
     material to the defendant on a rolling basis pursuant to Federal Rule of Criminal
     Procedure 16. The government made substantial productions of material to the
     defendant on June 27, 2023 and September 1, 2023 and will be making a supplemental
     production tomorrow. At this stage, the government has produced a substantial
     majority of discoverable material currently in its possession. The government will
     continue to collect, review and produce discoverable material on a rolling basis.

    Curcio Hearing: On October 20, 2023, the government filed a motion for a hearing
     pursuant to United States v. Curcio, 680 F.2d 881 (2d Cir. 1982), to address potential
     conflicts of interest arising from relationships between defense counsel and two
     individuals referenced in the Superseding Indictment. See Dkt. No. 51. The Court
     granted this motion on October 23, 2023. At the status conference, the government
     respectfully requests that the Court advise the defendant of the potential conflicts,
     conduct an appropriate Curcio inquiry, and determine whether the defendant waives
     these potential conflicts.

    Trial Date and Pre-Trial Schedule: The parties respectfully request that the Court set a
     trial date in this matter. The government anticipates that the presentation of its case-
     in-chief will take approximately three weeks. The parties respectfully request a trial
     date in May or June 2024, subject to the Court’s availability. The government further
     proposes that, following the entry of a trial date, the parties will confer and then submit
     to the Court a proposed pre-trial schedule for motion practice, disclosure of materials
     pursuant to 18 U.S.C. § 3500 and Federal Rule of Criminal Procedure 26.2, disclosure
     of witness lists and exhibit lists, submission of proposed jury instructions, and a final
     pretrial conference.




                                              2
Case 2:23-cr-00197-JS-AYS Document 52 Filed 10/26/23 Page 3 of 3 PageID #: 373




       Next Status Conference – The parties respectfully request that the Court schedule the
        next status conference in approximately 45 days (i.e., approximately December 11,
        2023). The parties further respectfully request that the Court exclude the time from
        tomorrow’s status conference to the next status conference, to allow defense counsel
        additional time to review discovery materials and to discuss this matter with his client.
        See 18 U.S.C. § 3161(h)(7)(A) & (B)(iv) (time is properly excluded when the failure
        to exclude would deny counsel for the defendant or the attorney for the government the
        reasonable time necessary for effective preparation). The parties respectfully submit
        that the ends of justice served by such an excludable delay outweigh the best interests
        of the public and the defendant in a speedy trial.


                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                              By:      /s/
                                                     Ryan C. Harris
                                                     Anthony Bagnuola
                                                     Laura Zuckerwise
                                                     Assistant U.S. Attorneys

                                                     COREY R. AMUNDSON
                                                     Chief, Public Integrity Section
                                                     U.S. Department of Justice

                                              By:      /s/
                                                     Jacob R. Steiner
                                                     John P. Taddei
                                                     Trial Attorneys


cc:      Joseph Murray Esq. (by ECF)
         Clerk of the Court (JS) (by ECF)




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